     2:18-cv-03326-RMG          Date Filed 03/12/19      Entry Number 207        Page 1 of 3




                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


 SOUTH CAROLINA COASTAL                        )
                                                   Civ. No. 2:18-cv-3326-RMG
 CONSERVATION LEAGUE, et al.,                  )
                                               )
                                                   (Consolidated with 2:18-cv-3327-RMG)
                Plaintiffs,                    )
                                               )
                                                   NOTICE OF INTENT TO FILE
                        v.                     )
                                                   ADDITIONAL ATTACHMENTS TO MAIN
                                               )
                                                   DOCUMENT [152] NOTICE TO LODGE
 WILBUR ROSS, in his official capacity         )
                                                   ADMINSTRATIVE RECORD
 as the Secretary of Commerce, et al.,         )
                                               )
                Defendants.                    )
                                               )

       NMFS lodged and served its administrative record on March 12, 2019. ECF 152. The

majority of the administrative record documents were attached to the filing, from ECF 153 to

206, but 19 reference files were not included because of technical difficulties. The entirety of the

administrative record, including these 19 files, were provided to opposing counsel in service

copies and to the Clerk’s office for courtesy copies. The 19 reference files will be lodged with

the Court on ECF as soon as those issues are resolved.



Dated: March 12, 2019                              Respectfully submitted,

                                                   JEAN E. WILLIAMS
                                                   Deputy Assistant Attorney General
                                                   Environment and Natural Resources Division
                                                   SETH M. BARSKY, Chief
                                                   MEREDITH L. FLAX, Assistant Chief

                                                    /s/ Jonelle Dilley
                                                   JONELLE DILLEY, Trial Attorney
                                                   ALISON C. FINNEGAN, Sr. Trial Attorney
                                                   United States Department of Justice
                                                   Environment & Natural Resources Division
                                                   Wildlife & Marine Resources Section



                                                   1
2:18-cv-03326-RMG   Date Filed 03/12/19   Entry Number 207      Page 2 of 3




                                   P.O. Box 7611
                                   Washington, D.C. 20044-7611
                                   Tel: (202) 305-0431; Fax: (202) 305-0275
                                   Email: Jonelle.Dilley@usdoj.gov
                                   Email: alison.c.finnegan@usdoj.gov




                                  2
     2:18-cv-03326-RMG         Date Filed 03/12/19      Entry Number 207        Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 13, 2019, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system, which will send electronic notification of such filing to all

counsel of record.

                                                       /s/ Jonelle Dilley




                                                1
